            Case 3:23-cv-04277-VC Document 18 Filed 09/11/23 Page 1 of 2



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12 Attorneys for Plaintiffs
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13 and PASTOR MIKE MCCLURE

14

15                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
16                                        (San Francisco Division)
17

18   CALVARY CHAPEL SAN JOSÉ, et al.,                           No. 23CV04277-VC
19                   Plaintiffs,                                JOINT STIPULATION FOR EXTENSION
                                                                OF TIME FOR DEFENDANT COUNTY OF
20   v.                                                         SANTA CLARA TO RESPOND TO
                                                                COMPLAINT
21   SANTA CLARA COUNTY, et al.,
22                   Defendants.
23

24           Pursuant to Civil Local Rules 6-1(a) and 7-12, Plaintiffs Calvary Chapel San José and Pastor

25   Mike McClure, on one hand, and Defendant County of Santa Clara, on the other hand, by and

26   through their respective counsel of record, hereby stipulate to a 30-day extension on Defendant

27   County of Santa Clara’s time to file a responsive pleading to the Complaint. Defendant shall

28   respond to the Complaint no later than October 23, 2023.
                                                            1
      Joint Stipulation for Extension of Time for                                          23CV04277-VC
      Defendant County of Santa Clara to Respond to Complaint
               Case 3:23-cv-04277-VC Document 18 Filed 09/11/23 Page 2 of 2



1              IT IS SO STIPULATED.
2    Dated: September 11, 2023                                  Respectfully submitted,
3                                                               TONY LOPRESTI
                                                                COUNTY COUNSEL
4

5                                                        By: /s/ Xavier M. Brandwajn
                                                             XAVIER M. BRANDWAJN
6                                                            Deputy County Counsel
7                                                               Attorneys for Defendant
                                                                COUNTY OF SANTA CLARA
8

9                                                         By: /s/ Mariah Gondeiro
     Dated: September 11, 2023
                                                              ROBERT TYLER
10
                                                              MARIAH GONDEIRO
                                                              JULIANNE FLEISCHER
11
                                                              ADVOCATES FOR FAITH & FREEDOM
12
                                                                Attorneys for Plaintiffs
                                                                CALVARY CHAPEL SAN JOSÉ
13
                                                                and PASTOR MIKE MCCLURE
14

15                                               CERTIFICATION

16             Pursuant to Civil Local Rule 5-1(i)(3), I attest that the concurrence of Mariah Gondeiro in the

17   filing of this stipulation has been obtained.

18                                                                    /s/ Xavier M. Brandwajn
                                                                     XAVIER M. BRANDWAJN
19

20

21

22   PURSUANT TO STIPULATION, IT IS HEREBY ORDERED THAT:

23             Defendant County of Santa Clara will have until October 23, 2023 to file a responsive

24   pleading to the Complaint in this action.

25

26   Dated: ______________                             ____________________________________
                                                       THE HONORABLE VINCE CHHABRIA
27                                                     United States District Judge
     2893660
28
                                                            2
      Joint Stipulation for Extension of Time for                                              23CV04277-VC
      Defendant County of Santa Clara to Respond to Complaint
